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CLEARY GOTTLIEB STEEN & HAMILTON LLP                                      LAURENT ALPERT
                                                                          VICTOR I. LEWKOW
                                                                          LESLIE N. SILVERMAN
                                                                                                     PAUL J. SHIM
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                                                                                   December 13, 2013


    VIA EMAIL TO THE CORE PARTIES SERVICE LIST



                       Re: In re Nortel Networks Inc., et aL, Case No. 09­10138
                           Nortel Networks Corporation, et al.: Court File No 09­CL­7950

    To all Core Parties:

                   Pursuant to the Deposition Protocol, we write on behalf of the U.S. Deposition
    Group to notify each Core Party as to specific topics on which the U.S. Debtors will conduct
    representative examinations of each Core Party listed below, to the extent such depositions
    occur. In accordance with Section G(l)(c) of the Deposition Protocol, the U.S. Deposition
    Group is not limited in their examinations to the topics listed herein, but barring objection, the
    designated representatives have an obligation to be prepared to testify on the specified topics.

                   As we have conveyed, it is our position that representative depositions are
    unnecessary, inappropriate and a waste of resources in light of the extensive discovery to date.
    While we identify topics to avoid any claim of waiver, this letter is served with an express
    reservation of all rights, including our right to seek judicial relief to modify the existing
    Deposition Protocol to eliminate representative depositions.

                   Subject to the foregoing reservation of rights, the U.S. Interests hereby designate
    the following topics:    '




       CLEARY GOTTLIEB STEEN a HAMILTON LLP OR AN AFFILIATED ENTITY HAS AN OFFICE IN EACH OF THE CITIES LISTED ABOVE.


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                Topics for Canadian Debtors Representative

                1) Statements made by Nortel Networks Limited ("NNL") or any affiliated entity
                   or any employee, advisor or representative thereof (including, but not limited
                   to, the Monitor, E&Y U.S. and E&Y Canada, Horst Frisch and Osiers) to any
                   third party regarding the Master Research and Development Agreement
                   ("MRDA"), transfer pricing, ownership (including with respect to economic,
                   beneficial and/or legal ownership) of intellectual property or intellectual
                   property license rights of any MRDA participant, including but not limited to,
                   government authorities, including tax authorities, debt­rating agencies,
                   underwriters, or any entity evaluating the credit­worthiness of NNL, and pre­
                   petition and post­petition potential asset purchasers.

                2) Third­party licensing by any Nortel entity of its intellectual property,
                   including with respect to which Nortel entity had the right to and did engage
                   in such licensing activity and which Nortel entity recognized revenue on
                   royalty payments.

                3) The practice of prosecuting or defending patents in litigation, including
                   decisions with respect to which Nortel entities should participate and/or bear
                   financial risk with respect to the litigation.

                4) Internal valuations of Nortel intellectual property by estate, by business line in
                   whole or in part and the methods used in such valuations, whether conducted
                   by third parties or by Nortel personnel.

                Topics for CCC Representative

                1) The identity of constituent creditor groups of the CCC, the financial condition
                   of each, including specifically but not limited to recent financial audits and
                   reports and the legal relationship between any Nortel entity to each such
                   creditor group.

                2) Any alleged confusion by creditors of a Nortel entity as to which Nortel entity
                   was the debtor.

                3) The justification for listing in response to Interrogatory Number 42 each
                   transaction, arrangement and event identified therein and how each such
                   transaction, arrangement and event supports the CCC's Allocation Position.

                4) Subjects identified in interrogatories for which the CCC responded that an
                   answer could not be provided because the parties were in the "early stage in
                   the discovery process."




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Core Parties Service List, p. 3


                Topics for Wilmington Trust Representative

                1) The terms of the Indenture dated November 30, 1988 between NNL and the
                   Bank of New York Mellon ("Indenture") and the expected financial result to
                   note holders under different allocation scenarios.

                2) Any alleged confusion by creditors of a Nortel entity as to which Nortel entity
                   was the debtor.

                3) The understanding of Wilmington Trust or its predecessors regarding liability
                   of any Nortel entity under the Indenture beyond the terms of the Indenture and
                   any communications regarding same.

                In addition, all party representatives should be prepared to address any topic, as
applicable to that party, designated by that party to representatives of any of the U.S. Interests.

              We look forward to continuing to discuss the scope and necessity of these
examinations, including the possibility of foregoing live examinations in favor of an efficient
written exchange with any of the core parties above.

                                                   Best regards,

                                                    / Maria A. Decker /

                                                   Maria A. Decker




[NEWYORK 2830407_5]
